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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Dolphus Phillips,                                  :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Accounts Receivable Management, Inc.; and          :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                                                   :
                        Defendants.                :


        For this Complaint, the Plaintiff, Dolphus Phillips, by undersigned counsel, states as

follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Dolphus Phillips (“Plaintiff”), is an adult individual residing in

Worchester, MA, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      The Defendant, Accounts Receivable Management, Inc. (“Accounts”), is a New

Jersey business entity with an address of 155 Mid-Atlantic Parkway, Thorofare, New Jersey

08086, operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Accounts and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Accounts at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff incurred a financial obligation in the approximate amount of $600.00

(the “Debt”) to Capital One (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Accounts for collection, or

Accounts was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Accounts Engages in Harassment and Abusive Tactics

       12.     The Defendants placed excessive calls to the Plaintiff, including calls on the

weekends and calls after 9:00 pm.



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       13.     The Defendants called the Plaintiff fourteen times per week.

       14.     During telephone calls the Defendants were extremely abusive and rude.

       15.     The Defendants are currently attempting to collect $900.00 from the Plaintiff,

having added fees to the original debt.


   C. Plaintiff Suffered Actual Damages

       16.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       17.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

       18.     The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendants

contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendants

contacted the Plaintiff before 8:00 a.m. and after 9:00 p.m.




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        22.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

        23.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        24.     The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                  COUNT II
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

        25.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        26.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

        27.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

        28.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff through excessive phone calls including calls on the weekend

and late at night.

        29.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.



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       30.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       31.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       32.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                 COUNT III
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       33.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully set forth herein at length.

       34.     The acts, practices and conduct engaged in by the Defendants vis-à-vis the

Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.

       35.     The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

       36.     All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.


                                        COUNT IV
                                    COMMON LAW FRAUD

       37.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

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       38.     The acts, practices and conduct engaged in by the Defendants and complained of

herein constitute fraud under the Common Law of the State of Massachusetts.

       39.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

foregoing acts and practices, including damages associated with, among other things,

humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the

Defendants. All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

punitive damages.


                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                    1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                    2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                       §1692k(a)(2)(A) against Defendants;

                    3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                       1692k(a)(3) against Defendants;

                    4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 3(A);

                    5. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;




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                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: February 23, 2010

                                            Respectfully submitted,
                                            By /s/ Sergei Lemberg
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